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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 ARTHUR VARGAS, individually and on               Case No.: 24-cv-6549
 behalf of all others similarly situated,
                                                  CLASS ACTION COMPLAINT
                        Plaintiff,
                                                  DEMAND FOR JURY TRIAL
        v.

 BARCLAYS BANK DELAWARE,

                        Defendant.




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          Plaintiff Arthur Vargas (“Plaintiff”), on behalf of himself and all other similarly situated

(“Class        Members”),      brings this case against Barclays Bank Delaware (“Barclays” or

“Defendant”). Plaintiff brings this action based upon personal knowledge of the facts pertaining

to himself, and on information and belief as to all other matters, by and through the investigation

of undersigned counsel.

                                           INTRODUCTION

          1.      This is a class action lawsuit against Barclays Bank for: (i) its unlawful disclosure

of Plaintiff’s personally identifiable information (“PII”) (including information that identifies a

person as having requested or obtained products or services) to a third party, Meta Platforms, Inc.,

formerly known as Facebook, Inc. (“Meta” or “Facebook”), and (ii) Defendant’s retention of

records containing PII concerning Plaintiff and the Class Members.

          2.      Barclays is a major global financial services provider engaged in retail banking,

credit cards, corporate and investment banking, and wealth management. Barclays moves, lends,

invests, and protects money for 48 million customers and clients worldwide.

          3.      Barclays’s     online   banking   website—www.banking.barclaysus.com—allows

consumers to access their account information. Barclays monitors and records its customers’

interaction with its website while they are logged on to access their confidential account

information.

          4.      Barclays shares customer interactions through its website with Meta, which owns

the social networking website and app Facebook. Barclays discloses this information to Facebook

using the Meta Pixel (“Pixel”), a snippet of programming code Barclays chose to install on its

website that sends information about its users to Facebook. In this case, the information shared

with Facebook includes (a) the fact that the individual is or has been one of Barclays’s customers




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or has obtained a financial product or service from Barclays; and (b) information related to

applications to obtain a credit card or other financial products or services, and information Barclays

obtains in connection with servicing its customers’ accounts.

       5.      Meta utilizes a combination of the personal information obtained from Barclays’s

website about each consumer and other information gathered from different sources for marketing

and advertising purposes.

       6.      Under the Gramm–Leach–Bliley Act (GLBA), 15 U.S.C. §§ 6801, et seq., financial

institutions, such as Barclays, are prohibited from disclosing a consumer’s “personally identifiable

financial information” without advance notification and opt-out rights. The GLBA defines

“personally identifiable financial information” to include, among other things, (a) any information

a consumer provides to a financial institution to obtain financial products or services (b) any

information about a consumer resulting from any transaction involving a financial product or

service; or (c) any information a financial institution otherwise obtains about a customer in

connection with providing a financial product or service. The examples of “personally identifiable

financial information” included in the GLBA are indistinguishable from the types of information

Barclays disclosed to Meta, including, among other things: (a)“[t]he fact that an individual is or

has been one of [a financial institution’s] customers or has obtained a financial product or service

from [a financial institution]”; (b) “[a]ny information that a consumer provides to [a financial

institution] or that [a financial institution] or [its] agent otherwise obtain[s] in connection with

collecting on, or servicing, a credit account; and (c) “any information [a financial institution]

collect[s] through an Internet ‘cookie’(an information collecting device from a web server).”

       7.      Barclays’s practice of disclosing its customers’ personal financial information to

Meta violated Plaintiff’s and other Class Members’ privacy rights under the GLBA. Barclays’s




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conduct also violated other related federal and state laws. Plaintiff brings this action, individually

and on behalf of all others similarly situated, for damages and equitable relief.

                                           THE PARTIES

       8.        Plaintiff Arthur Vargas resides in the Bronx, New York. Plaintiff is a user of

Barclays’s website and has used Barclays’ website on the same browsers and devices that he logs

into Facebook with, where he has an account.

       9.        Defendant Barclays Bank Delaware is a corporation with its principal place of

business at 125 South West Street, Wilmington, Delaware. Defendant operates a website which

allows consumers to access their account information through which it collects and retains the PII

of its consumers, and discloses their PII to third party, Facebook.

                                  JURISDICTION AND VENUE

       10.       This Court has original subject matter jurisdiction over this class action pursuant to

28 U.S.C. § 1331 and 28 U.S.C. § 1367.

       11.       The Court also has original subject matter jurisdiction over this putative class action

pursuant to the Class Action Fairness Act of 2005, under 28 U.S.C. § 1332(d), because: Plaintiff

is a citizen of New York and Defendant is a citizen of Delaware; the matter in controversy is well

in excess of $5,000,000 in the aggregate, exclusive of interest and costs; and “the number of

members of all proposed plaintiff classes in the aggregate” is greater than 100, see 28 U.S.C. §

1332(d)(5)(B).

       12.       The Court has personal jurisdiction over Defendant because Plaintiff’s claims

against Defendant arise out of its conduct within New York, including Plaintiff’s use in New York

of the Barclays website to access their financial account information and apply for financial

products.




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       13.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a substantial

part of the events or omissions giving rise to Plaintiff’s claims occurred in this District, where

Plaintiff resides and used Barclays’s website to access their financial account information.

                FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

I.     Barclays’ Disclosure of the PII of Plaintiff and the Class Members to Facebook

       A.      Barclays Designed Its Website to Disclose Users’ PII to Facebook, Including

               the Financial Information or Personal Information They Share With Barclays

       14.     Barclays operates a website in the U.S., accessible from a desktop or mobile device

at https://www.banking.barclaysus.com or from a handful of applications and devices, such as the

Barclays Bank US Savings and Barclays Bank US Credit Cards apps, through which consumers

can access Barclays account information.

       15.     The Meta Pixel, formerly referred to as the Facebook Pixel, was first introduced in

2013 and allows online businesses like Barclays to build detailed profiles about its users by

collecting information about how they interact with their websites and facilitates the service of

targeted advertising to them.

       16.     The Meta Pixel is a piece of code that companies like Barclays can integrate into

their website. Once activated, the Meta Pixel tracks people and the types of actions they take on

the website. When the Meta Pixel captures an action, it sends a record to Facebook. Facebook then

processes this data, analyzes it, and assimilates it into datasets like Core Audiences and Custom

Audiences that allows any advertiser to use for ad targeting.

       17.     To take advantage of Facebook’s targeted advertising and analytical services,

Barclays intentionally installed the Meta Pixel on its website, thus making the knowing choice to

track consumers’ PII and send it to Facebook.




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       18.     Companies like Barclays control what actions—or "events"—the Meta Pixel will

collect, including the website's metadata, along with what pages a visitor views and what buttons

a visitor clicks. Companies can also configure the Meta Pixel to track other events. Facebook offers

a menu of "standard events" from which advertisers can choose, including what content a visitor

views or purchases. A company can also create their own tracking parameters by building a

"custom event."

       19.     Companies like Barclays control where and how the Meta Pixel identifies visitors.

The Meta Pixel is configured to automatically collect "HTTP Headers." HTTP Headers collect IP

addresses, information about the web browser, page location, document, referrer and persons using

the website.

       20.     When a user accesses barclaysus.com while logged into Facebook, the Pixel will

compel that user's browser to transmit the c_user cookie, which contains the user's unencrypted

Facebook ID. Facebook IDs correspond to Facebook profiles. Facebook also receives the fr and

Datr cookies from a visitor's browser when visiting barclaysus.com. The fr and Datr cookies

contain, at least, an encrypted Facebook ID and browser identifier. The c_user cookie contains, at

least, an unencrypted value that uniquely identifies a browser.

       21.     The information Facebook collects from the Meta Pixel is valuable to both Meta

and Barclays Bank. Meta uses this information to enhance its advertising services, improve user

profiling, and develop new products. Specifically, Meta: a. Use the data to promote safety and

security on Meta products; b. Conduct research and development to improve Meta products; c.

Create custom audience sets that can be shared with other advertisers; d. Use the event data for ad

delivery after aggregating it with other data; e. Help websites like Barclays Bank reach people

with transactional and commercial messages on Facebook Messenger and other Meta products; f.




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Personalize features and content (including ads) shown to people on and off Meta products.

       22.     For Barclays Bank, the Meta Pixel enables more effective targeted advertising,

provides valuable customer insights, and allows for better measurement of marketing campaign

effectiveness. This data sharing arrangement benefits both companies financially by increasing ad

revenue and customer acquisition, while compromising consumers' privacy rights.

       B.      How Barclays Discloses Digital Consumers’ PII to Facebook

       23.     Businesses have the option of installing the Meta Pixel on their websites. Doing so

enables the business to collect information about how users interact with the business’s website,

such as whether they initiate purchases on the website, what items they spend time viewing, and,

as relevant here, the content the users request or obtain on a particular webpage.

       24.     The Meta Pixel is a unique string of code businesses can embed on their websites,

allowing them to track consumers’ actions and report the actions back to Facebook.

       25.     The Pixel can follow a consumer to different websites and across the Internet even

after clearing browser history.

       26.     The Pixel allows Facebook to build detailed profiles about a website’s users as

those users browse the web in order to serve targeted advertisements to those users.

       27.     To take advantage of advertising and information services offered by Facebook,

Barclays programmed the Barclays website to include a Meta Pixel.

       28.     When a Barclays consumer requests, obtains, or shares information on Barclays’s

website, the Pixel installed by Barclays sends Facebook certain information about the consumer.

       29.     With regard to Barclays Bank customer identities, Barclays Bank transmits to Meta

via the Facebook Tracking Pixel information captured by multiple cookies that identify individual

Barclays Bank customers. The key cookies involved are:




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                   a.      The “c_user” cookie: This cookie contains an unencrypted Facebook
                           ID, which is a unique and persistent numerical identifier - similar to a
                           social security or driver's license number - that Meta assigns to each
                           Facebook user. This ID allows: (a) Meta to directly identify the specific
                           individual associated with the Facebook ID; and (b) anyone to identify
                           the specific individual by appending the Facebook ID to
                           https://facebook.com/[Facebook ID]. The data sent to Meta by Barclays
                           Bank included these unencrypted Facebook IDs of Barclays Bank
                           customers using the Barclays Bank website;

                   b.      The “fr” cookie: This cookie contains an encrypted Facebook ID and
                           browser identifier. While encrypted, this information still allows Meta
                           to link the browsing session to a specific Facebook user; and

                   c.      The “Datr” cookie: This cookie contains a unique browser identifier.
                           While it doesn't directly contain a Facebook ID, it allows Meta to
                           recognize the same browser across multiple visits and sessions, which
                           can be correlated with other data to identify specific users.


       30.     In addition to these cookies, Barclays Bank also disclosed to Meta other data

(including information identifying the customer's web browser, IP address, and browsing

behavior on Barclays' site) that Meta can use in combination with the cookie data to determine

the identity of the individual Barclays Bank customer accessing the Barclays Bank website.

       31.     The combination of these cookies and additional data allows Meta to directly link

Barclays Bank website activity to specific, identified individuals, thereby revealing their identity

and directly relating financial information to them. This level of identification goes beyond mere

anonymous tracking and constitutes a disclosure of personally identifiable information.

       32.     With respect to the actions Barclays customers take on the Barclays website,

Barclays discloses at least the following types of event data to Meta alongside information

identifying the specific Barclays customer: The Deposit Page View, BarclaycardUSPageView,

BarclaysDepositsSavingsLPView, CDLandingPageView/Page View, DepositsPageView, and




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SavingsLandingPageView events transmit the URL accessed, revealing which webpage the

visitor viewed.

       33.        The Pixel sends the full URL path to Meta, including details about specific

financial product pages or application steps the consumer has navigated to. For example, during

an application, this includes the URLs describing the landing page, personal information page,

contact details page, and programmed events that are fired when visiting the page.

       34.        The events transmit data showing the exact financial product (e.g. a specific

Barclays card, investment product, or savings account) that the consumer obtains.

       35.        Barclays could easily program its website so that this information is not disclosed

to Facebook or update disclosures to inform consumers that information that is obtained is shared

with third parties and they can opt-out.

       36.        At all relevant times, Barclays knew that the Meta Pixel disclosed PII to Facebook,

identifying its consumers. This is evidenced from, among other things, the functionality of the

Pixel, including that the Pixel’s sharing of information with Facebook enabled Barclays’s website

to show targeted advertising to its digital consumers based on the products those digital consumers

had requested or obtained on the website.

II.    The Information Barclays Shared Is Protected Under The Gramm-Leach-Bliley Act
       & Related Regulations.

       37.        The GLBA defines a financial institution as “any institution the business of which

is engaging in financial activities as described in Section 1843(k) of Title 12 [The Bank Holding

Company Act of 1956].” 15 U.S.C. § 6809(3)(A).

       38.        Barclays is a financial institution, as that term is defined by Section 509(3)(A) of the

GLBA, 15 U.S.C. § 6809(3)(A), and thus is subject to the GLBA.

       39.        Pursuant to the GLBA, “each financial institution has an affirmative and continuing



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obligation to respect the privacy of its customers and to protect the security and confidentiality of those

customers’ nonpublic personal information.” 15 U.S.C. § 6801(a).

        40.     Pursuant to the regulations implementing the GLBA:

                a.      “[n]on public personal information” means (i) “[p]ersonally identifiable
                        financial information”, and (ii) “[a]ny list, description, or other groupings
                        of consumers (and publicly available information pertaining to them) that is
                        derived using any personally identifiable financial information that is not
                        publicly available”, 16 C.F.R. § 313.3(n); 12 CFR § 1016.3(p);

                b.      “personally identifiable financial information,” in turn, means “any
                        information: (i) [a] consumer provides to [a financial institution] to obtain
                        a financial product or service from [a financial institution], (ii) [a]bout a
                        consumer resulting from any transaction involving a financial product or
                        service between [a financial institution] and a consumer, or (iii) [a financial
                        institution] otherwise obtain[s] about a consumer in connection with
                        providing a financial product or service to that consumer,” 16 C.F.R. §
                        313.3(o)(1); 12 CFR § 1016.3(q)(1); and

                c.      specifically enumerated “examples” of types of information that qualifies
                        as “personally identifiable financial information” include, among other
                        things: (i) “[t]he fact that an individual is or has been one of [a financial
                        institution’s] customers or has obtained a financial product or service from
                        [a financial institution,” (ii) “[a]ny information about [a financial
                        institution’s] consumer if it is disclosed in a manner that indicates that the
                        individual is or has been [a financial institution’s] consumer,” (iii) [a]ny
                        information that a consumer provides to [a financial institution] or that [a
                        financial institution] or [its] agent otherwise obtain[s] in connection with
                        collecting on, or servicing, a credit account,” and (iv) “[a]ny information [a
                        financial institution] collect[s] through an Internet ‘cookie’ (an information
                        collecting device from a web server),” 16 C.F.R. § 313.3(o)(2); 12 CFR §
                        1016.3(q)(2).

        41.     The information that Barclays disclosed to Meta via the Facebook Tracking Pixel

is considered “nonpublic personal information” under the GLBA and related regulations.

III. Barclays’s Disclosure Of Plaintiff’s Non-Public Personal Information Was Unlawful.

        42.     Pursuant to the regulations implementing the GLBA, financial institutions may not,

directly or through an affiliate, disclose any “non-public personal information” about a consumer

to a non-affiliated third party unless, among other things: (a) the financial institution provides the



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consumer with a clear and conspicuous notice that accurately reflects the financial institution’s

privacy policies and practices; and (b) the consumer does not opt out of those data sharing practices

and clear, conspicuous and accurate disclosure. 16 C.F.R. § 313.10(a)(1); 12 C.F.R. §

1016.10(a)(1).

       43.       As noted above, the notice to consumers regarding the financial institution’s

privacy policies and practices must be “clear and conspicuous” and “accurately reflect[]” the

financial institution's privacy policies and practices. 16 C.F.R. §§ 313.4 and 313.5; 12 C.F.R. §§

1016.4 and 1016.5. The notice must include specified elements, including the categories of non-

public personal information the financial institution collects and discloses, the categories of third

parties to whom the financial institution discloses the information, and the financial institution’s

security and confidentiality policies and practices for non-public personal information 16 C.F.R.

§ 313.6; 12 C.F.R. § 1016.6. The notice must be provided “so that each consumer can reasonably

be expected to receive actual notice.” 16 C.F.R. § 313.9; 12 C.F.R. § 1016.9.

       44.       Barclays fails to provide the required “clear and conspicuous” notice that

“accurately reflects” its privacy policies and practices. In fact, Barclays’s notice to consumers

regarding its data sharing states that it does not share information with non-affiliates for marketing

purposes. However, the use of the Facebook pixel is considered sharing information with Facebook

(a non-affiliate) for marketing purposes. Within the meaning of the GLBA and related regulations,

Meta is not an affiliate of Barclays and is otherwise a nonaffiliate of Barclays. Because the Privacy

Notice does not comply with the applicable regulations described above, Barclays was prohibited

from disclosing its customers’ non-public personal information collected through the Facebook

TrackingPixel, and those disclosures were unlawful under the GLBA and related regulations.

Furthermore, Barclays' privacy notice contains misleading and inaccurate statements regarding the




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sharing of customer information. The notice falsely claims that Barclays "does not reveal your

specific identity or does not directly relate to an individual, such as:...Information collected

through cookies, pixel tags and other technologies." This statement is demonstrably untrue, as the

Meta tracking Pixel installed on Barclays' website does, in fact, collect and transmit information

that can be linked to specific identity or individual, including the C_user, FR, and Datr their

cookies which contain the Facebook IDs and detailed browsing behavior from Barclays' financial

pages. Moreover, the notice fails to adequately disclose the extent and nature of information

sharing with third parties like Meta, omitting crucial details about the use of tracking technologies

and the potential for this data to be used for marketing purposes. This lack of transparency and

accuracy in Barclays' privacy disclosures constitutes a material misrepresentation to customers and

a violation of their reasonable expectations of privacy when engaging with a financial institution.

        45.     By disclosing Plaintiff’s and Class Members’ non-public personal information to

Meta without the required notice, Barclays violated 16 C.F.R. § 313(the “GLBA Privacy

Rule”)and 12 C.F.R. § 1016 (“Regulation P”).Barclays' use of the Meta Pixel to share customers'

nonpublic personal information and online banking activities with Facebook violates the Gramm-

Leach-Bliley Act's restrictions on disclosing consumers' nonpublic personal information to

unaffiliated third parties.

IV. Barclays’s Conduct Was “Unfair” Under The Federal Trade Commission Act.

        46.     The GLBA “Privacy Rule” became effective on July 1, 2001. 16 C.F.R. § 313.

        47.     The Federal Trade Commission (“FTC”) has interpreted Section 5 of the Federal

Trade Commission Act (“FTC Act”), 15 U.S.C. § 45, to include compliance with the GLBA

Privacy Rule.




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        48.     Failing to comply with the GLBA Privacy Rule is an unfair act or practice

prohibited by Section 5 of the FTC Act.

                                 PLAINTIFF’S EXPERIENCE

        49.     Plaintiff Arthur Vargas is a Barclays Bank website user as well as a Facebook user.

        50.     Plaintiff has been accessing Barclays Bank’s website regularly on a weekly basis

in order to pay his bills.

        51.     Plaintiff joined Facebook almost two decades ago, and has had a Facebook account

during the entirety of his time as a Barclays Bank consumer.

        52.     Plaintiff visited Barclays Bank website to provide and receive personal and

financial information using the same browser that he uses to log in to Facebook, including while

he was logged in to Facebook.

        53.     Barclays Bank disclosed to Facebook Plaintiff’s personal and financial information,

including any information related to items Plaintiff shared with Barclays in anticipation of

applying for a bank account or some other credit with them.

        54.     Plaintiff requests and obtains information regarding finances from Barclays Bank,

and Barclays Bank maintains records of Plaintiff’s search history and input history to this end.

        55.     Plaintiff was unaware that their browsing activity on Barclays' website, including

the specific products they viewed and the information they provided, was being transmitted to

Facebook via the Meta Pixel.

        56.     Had Plaintiff known that Barclays was sharing their personal information and

browsing activity with Facebook, they would not have interacted with Barclays' website or

provided any personal information.




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       57.     Plaintiff has since received targeted advertisements on Facebook for Barclays

products similar to those they researched, indicating that their personal information and browsing

activity was indeed captured and used for marketing purposes.

       58.     Barclays' unauthorized disclosure of Plaintiff's personal information and browsing

activity to Facebook has caused Plaintiff anxiety, frustration, loss of the confidentiality of the

stolen confidential data, and concern about their privacy, as well as the time and effort spent

monitoring their online presence for potential misuse of their information.

       59.     Barclays Bank retains Plaintiff’s PII for longer than necessary for the purpose for

which it was collected, in violation of State law and the GBLA. Barclays Bank did not destroy

Plaintiff’s PII as soon as practicable. Barclays Bank did not even destroy Plaintiff’s PII within one

year from the date the information was no longer necessary for the purpose for which it was

collected. Indeed, on information and belief, Barclays Bank is retaining Plaintiff’s PII indefinitely.

                               CLASS ACTION ALLEGATIONS

       60.     Pursuant to Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure,

Plaintiff brings this action on behalf of himself and a proposed class (“Nationwide Class”) defined

as follows:

       All persons in the United States who, within the applicable limitations period, (1)
       had a Facebook account; and (2) interacted with Barclay Bank’s online financial
       platform at https://www.banking.barclaysus.com within the authenticated Barclays
       Bank financial platform.


       61.     Plaintiff also brings this action on behalf of a New York subclass (“New York

Subclass”) defined as follows:

       All persons in the New York who, within the applicable limitations period, (1) had a
       Facebook account; and (2) interacted with Barclay Bank’s online financial platform at
       https://www.banking.barclaysus.com within the authenticated Barclays Bank financial
       platform.




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       62.      Unless otherwise specified below, the Nationwide Class and New York Subclass

are referred to collectively below as the “Class.”

       63.     Excluded from the Class are: (a) Defendant, Defendant’s board members,

executive-level officers, and attorneys, and immediately family members of any of the foregoing

persons; (b) governmental entities; (c) the Court, the Court’s immediate family, and the Court

staff; and (d) any person that timely and properly excludes himself or herself from the Class in

accordance with Court-approved procedures.

       64.     Certification of Plaintiff’s claims for class-wide treatment is appropriate because

Plaintiff can prove the elements of her claims on a class-wide basis using the same evidence as

individual Class Members would use to prove those elements in individual actions alleging the

same claims.

       65.     Numerosity. The size of the Class is so large that joinder of all members of the

Class is impracticable. The exact number of Class Members is unknown, but Barclays represents

it has over 20 million consumers1 and Plaintiff estimates there are, at least, many thousands of

consumers in the New York alone.

       66.     Commonality and Predominance. There are questions of law and fact common

to the Class. These questions predominate over any questions affecting only individual Class

Members. Predominating common questions include but are not limited to:

       a.      whether Defendant engaged in the conduct alleged herein;

       b.      whether Defendant knowingly disclosed Plaintiff’s and Class Member’s PII to

       Facebook;

1
 https://home.barclays/investor-update-
2024/#:~:text=We%20are%20proud%20to%20have,world's%20largest%20credit%20card%20m
arket. (last accessed August 26, 2024)



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       c.     whether Defendant retained records of PII for Plaintiff and the Class Members for

       longer than necessary for the purpose for which it was collected;

       d.     whether Defendant’s conduct violates the GBL;

       e.     Whether Defendant’s disclosure of Plaintiff’s and Class Members’ nonpublic

       personal information to third-parties violated federal, state, and local laws or industry

       standards;

       f.     Whether Defendant owed duties to Plaintiff and Class Members to protect their

       nonpublic personal information;

       g.     whether Defendant was unjustly enriched by its conduct;

       h.     whether Plaintiff and the Class Members consented to Defendant’s disclosure of

       their nonpublic personal information; and

       i.     whether Plaintiff and the Class Members are entitled to actual, statutory, or other

       forms of damages and other monetary relief; and

       j.     whether Plaintiff and the Class Members are entitled to equitable relief, including

       but not limited to injunctive relief and equitable restitution.

       67.    Defendant engaged in a common course of conduct in contravention of the laws

Plaintiff seeks to enforce individually and on behalf of the Class Members. Similar or identical

statutory and common law violations, business practices, and injuries are involved. Individual

questions, if any, pale by comparison, in both quality and quantity, to the numerous common

questions that dominate this action. Moreover, the common questions will yield common answers.

       68.    Typicality. Plaintiff’s claims are typical of the claims of the Class Members

because Defendant injured all Class Members through the uniform misconduct described herein;

Barclays knowingly disclosed the PII of Plaintiff, the Class Members to Facebook as described




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herein; Barclays unlawfully retained Plaintiff’s and the Class Members’ PII as described herein;

and Plaintiff seeks the same relief as all Class Members.

        69.    Furthermore, there are no defenses available to Defendant that are unique to

Plaintiff.

        70.    Adequacy of Representation. Plaintiff is a fair and adequate representative of the

Class because Plaintiff’s interests do not conflict with the Class Members’ interests. Plaintiff will

prosecute this action vigorously and is highly motivated to seek redress against Defendant.

Furthermore, Plaintiff has selected competent counsel that are experienced in class actions and

other complex litigation. Plaintiff and her counsel are committed to prosecuting this action

vigorously on behalf of the Class and have the resources to do so.

        71.    Injunctive and Declaratory Relief. The requirements for maintaining a class

action pursuant to Rule 23(b)(2) are met, as Defendant has acted or refused to act on grounds

generally applicable to each of the Classes, thereby making appropriate final injunctive relief or

corresponding declaratory relief with respect to each Class as a whole.

        72.    Superiority. The class action mechanism is superior to other available means for

the fair and efficient adjudication of this controversy for reasons including but not limited to the

following:

        a.     The damages individual Class Members suffered are small compared to the burden

        and expense of individual prosecution of the complex and extensive litigation needed to

        address Defendant’s conduct.

        b.     Further, it would be virtually impossible for the Class Members individually to

        redress effectively the wrongs done to them. Even if Class Members themselves could

        afford such individual litigation, the court system could not. Individualized litigation would




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       unnecessarily increase the delay and expense to all parties and to the court system and

       presents a potential for inconsistent or contradictory rulings and judgments. By contrast,

       the class action device presents far fewer management difficulties, allows the hearing of

       claims which might otherwise go unaddressed because of the relative expense of bringing

       individual lawsuits, and provides the benefits of single adjudication, economies of scale,

       and comprehensive supervision by a single court.

       c.      The prosecution of separate actions by the individual members of the Class would

       create a risk of inconsistent or varying adjudications with respect to individual Class

       Members, which would establish incompatible standards of conduct for Defendant.

       d.      The prosecution of separate actions by individual Class Members would create a

       risk of adjudications with respect to them that would, as a practical matter, be dispositive

       of the interests of other Class Members not parties to the adjudications or that would

       substantively impair or impede their ability to protect their interests.

       73.     Notice. Plaintiff and her counsel anticipate that notice to the proposed Classes will

be effectuated through recognized, Court-approved notice dissemination methods, which may

include United States mail, electronic mail, Internet postings, and/or published notice.




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                                     CLAIMS FOR RELIEF

                                          COUNT I
                                       NEGLIGENCE
                       (On Behalf of Plaintiff and the Nationwide Class)

       74.     Plaintiff repeats and re-alleges the above paragraphs as if fully alleged herein.

       75.     Plaintiff and Class Members submitted sensitive nonpublic personal information,

including personally identifiable financial information, when accessing Barclays’s online financial

platform.

       76.     By collecting, storing, using, and profiting from this data, Barclays had a duty of

care to Plaintiff and Class Members to exercise reasonable care in keeping their nonpublic personal

information, including personally identifiable financial information, confidential.

       77.     Barclays had common law duties to prevent foreseeable harm to Plaintiff and Class

Members. These duties existed because Plaintiff and Class Members were the foreseeable and

probable victims of any disclosure of their nonpublic personal information, including personally

identifiable financial information, without their consent.

       78.     Defendant’s duties to protect the confidentiality of Plaintiff’s and Class Members’

nonpublic personal information, including personally identifiable financial information, also arose

as a result of the special relationship that existed between Defendant, on the one hand, and Plaintiff

and Class Members, on the other hand. The special relationship arose because Plaintiff and Class

Members entrusted Defendant with their nonpublic personal information, including personally

identifiable financial information, in connection with using Defendant’s financial services.

Defendant alone could have ensured that it did not disclose nonpublic personal information,

including personally identifiable financial information, without its consumers’ consent.




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       79.     Defendant’s duties to keep the nonpublic personal information, including

personally identifiable financial information, confidential also arose under Section 5 of the Federal

Trade Commission Act (“FTC Act”), 15 U.S.C. § 45, which prohibits “unfair . . . practices in or

affecting commerce,” including the unfair practice of failing to keep the nonpublic personal

information confidential.

       80.     Barclays’s duty to keep nonpublic personal information, including personally

identifiable financial information, confidential also arose under the GLBA, under which Barclays

was required to keep nonpublic personal information, including personally identifiable financial

information, confidential.

       81.     Defendant knew or should have known that by integrating the tracking technologies

like the Facebook Tracking Pixel on Barclays’s website that Plaintiff’s and Class Members’

nonpublic personal information, including personally identifiable financial information, would be

disclosed to Meta.

       82.     Defendant breached the duties it owed to Plaintiff and Class Members described

above and was thus negligent. Defendant breached these duties by, among other things, installing

the Facebook Tracking Pixel on its website, and configuring the Facebook Tracking Pixel in such

a way that it systematically disclosed Defendant’s customers nonpublic personal information,

including personally identifiable financial information, to an unaffiliated third party.

       83.     But for Defendant’s wrongful and negligent breach of the duties it owed to Plaintiff

and Class Members, their nonpublic personal information, including personally identifiable

financial information, would not have been disclosed without their consent.

       84.     As a direct and proximate result of Defendant’s negligence, Plaintiff and Class

Members have been injured and are entitled to damages in an amount to be proven at trial.




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       85.     Plaintiff and Class Members seek to recover the value of the unauthorized access

to their PII resulting from Defendants’ wrongful conduct. This measure of damages is analogous

to the remedies for unauthorized use of intellectual property. Like a technology covered by a trade

secret or patent, use or access to a person’s personal information is non-rivalrous—the

unauthorized use by another does not diminish the rights-holder’s ability to practice the patented

invention or use the trade-secret protected technology. Nevertheless, a plaintiff may generally

recover the reasonable use value of the IP—i.e., a “reasonable royalty” from an infringer. This is

true even though the infringer’s use did not interfere with the owner’s own use (as in the case of a

non-practicing patentee) and even though the owner would not have otherwise licensed such IP to

the infringer. A similar royalty or license measure of damages is appropriate here under common

law damages principles authorizing recovery of rental or use value. This measure is appropriate

because (a) Plaintiff and Class Members have a protectable property interest in their PII; (b) the

minimum damages measure for the unauthorized use of personal property is its rental value; and

(c) rental value is established with reference to market value, i.e., evidence regarding the value of

similar transactions.

                                              COUNT II
                                       NEGLIGENCE PER SE
                           (On Behalf of Plaintiff and the Nationwide Class)

       86.     Plaintiff repeats and re-alleges the above paragraphs, as if fully alleged herein.

       87.     Section 5 of the FTC Act, 15 U.S.C. § 45, prohibits “unfair . . . practices in or

affecting commerce” including the unfair act or practice by Defendant of failing to keep nonpublic

personal information, including personally identifiable financial information, confidential.

       88.     Defendant violated Section 5 of the FTC Act (and similar state statutes) by

disclosing its consumers’ nonpublic personal information, including personally identifiable




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financial information, without notice and consent. Defendant’s conduct was particularly

unreasonable given the systematic nature of its collection and distribution of nonpublic personal

information, including personally identifiable financial information, and the foreseeable

consequences of disclosure of such information.

       89.     Barclays’s duty to keep nonpublic personal information, including personally

identifiable financial information, confidential also arose under the GLBA and related regulations

(discussed above), under which Barclays was required to keep its customers’ nonpublic personal

information, including personally identifiable financial information, confidential absent consent

that Barclays did not obtain.

       90.     Defendant’s violation of Section 5 of the FTC Act (and similar state statutes) and

the GLBA (and related regulations) constitutes negligence per se.

       91.     Class Members are consumers within the class of persons Section 5 of the FTC Act

(and similar state statutes), and the GLBA (and related regulations), were intended to protect.

       92.     Moreover, the harm that has occurred is the type of harm the FTC Act (and similar

state statutes), and the GLBA (and related regulations), were intended to guard against.

       93.     As a direct and proximate result of Barclays’s negligence, Plaintiff and Class

Members have been injured and are entitled to damages in an amount to be proven at trial.

       94.     Plaintiff and Class Members seek to recover the value of the unauthorized access

to their PII resulting from Defendants’ wrongful conduct. This measure of damages is analogous

to the remedies for unauthorized use of intellectual property. Like a technology covered by a trade

secret or patent, use or access to a person’s personal information is non-rivalrous—the

unauthorized use by another does not diminish the rights-holder’s ability to practice the patented

invention or use the trade-secret protected technology. Nevertheless, a plaintiff may generally




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recover the reasonable use value of the IP—i.e., a “reasonable royalty” from an infringer. This is

true even though the infringer’s use did not interfere with the owner’s own use (as in the case of a

non-practicing patentee) and even though the owner would not have otherwise licensed such IP to

the infringer. A similar royalty or license measure of damages is appropriate here under common

Case law damages principles authorizing recovery of rental or use value. This measure is

appropriate because (a) Plaintiff and Class Members have a protectable property interest in their

PII; (b) the minimum damages measure for the unauthorized use of personal property is its rental

value; and (c) rental value is established with reference to market value, i.e., evidence regarding

the value of similar transactions.

                                          COUNT III
                                  UNJUST ENRICHMENT
                       (On Behalf of Plaintiff and the Nationwide Class)


       95.     Plaintiff incorporates and realleges the paragraphs above as if fully set forth herein.

       96.     Plaintiff and Class members conferred a benefit on Barclays by having a Facebook

account; and having interacted with Barclays’s online financial platform.

       97.     Barclays acted wrongfully by sharing Plaintiff’s and the Class members’ PII with

Facebook without their consent.

       98.     Barclays’s practice of sharing Plaintiff’s and the Class members’ PII with Facebook

without their consent, and its failure to disclose this practice, caused it to profit from membership

fees it would otherwise not have received.

       99.     Barclays’ retention of these ill-gotten gains is unjust and inequitable.

       100.    Plaintiff, on behalf of himself and the Class members, seeks restitution,

restitutionary disgorgement, and all other appropriate relief permitted by the law of unjust

enrichment, including reasonable attorney’s fees and costs. There is no adequate remedy at law



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that would provide redress to Plaintiff and the Class members or ensure that Barclays will not

deploy the same data practices in the future.

                                          COUNT IV
                              DECLARATORY JUDGMENT
                       (On Behalf of Plaintiff and the Nationwide Class)


       101.    Plaintiff repeats and re-alleges the above paragraphs, as if fully alleged herein.

       102.    Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., the Court is

authorized to enter a judgment declaring the rights and legal relations of the parties and grant

further necessary relief. Furthermore, the Court has broad authority to restrain acts, such as here,

that are tortious and violate the terms of the federal and state statutes described in this complaint.

       103.    An actual controversy has arisen regarding Barclays’s present and prospective

common law and other duties to keep its customers’ nonpublic personal information, including

personally identifiable financial information, confidential and whether Defendant is currently

keeping that information confidential. Plaintiff remains a Barclays consumer who needs to use the

Barclays website to manage his accounts and the financial services provided to him by Barclays.

Thus, Plaintiff thus remains at imminent risk that additional disclosure of his nonpublic personal

information, including personally identifiable financial information, will occur in the future.

       104.    Pursuant to its authority under the Declaratory Judgment Act, this Court should

enter a judgment declaring, among other things, the following:

               a. Defendant continues to owe a legal duty to secure consumers’ nonpublic personal

               information, including personally identifiable financial information, under the

               common law, Section 5 of the FTC Act, the GLBA, and various state statutes;

               b. Defendant continues to breach this legal duty by disclosing its consumers’

               nonpublic personal information, including personally identifiable financial

               information, to unaffiliated third parties.


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       105.    The Court also should issue corresponding prospective injunctive relief requiring

Defendant to keep its nonpublic personal information, including personally identifiable financial

information, confidential consistent with law and industry standards.

       106.    If an injunction is not issued, Plaintiff and Class Members will suffer irreparable

injury, and lack an adequate legal remedy. The risk of additional disclosure is real, immediate, and

substantial, as the Facebook Tracking Pixel remains operative on Defendant’s website to this day.

If additional disclosure occurs, Plaintiff and Class Members will not have an adequate remedy at

law because many of the resulting injuries are not readily quantified, and they will be forced to

bring multiple lawsuits to rectify the same conduct.

       107.    The hardship to Plaintiff and Class Members if an injunction does not issue exceeds

the hardship to Defendant if an injunction is issued. Among other things, if Barclays continues to

disclose its customers’ nonpublic personal information, including personally identifiable financial

information, Plaintiff and Class Members will likely be subjected to the harms described herein.

On the other hand, the cost to Defendant of complying with an injunction by keeping its customers’

nonpublic personal information, including personally identifiable financial information,

confidential is relatively minimal (for example, removing the Facebook Tracking Pixel and any

similar tracking technologies from its website), and Defendant have a pre-existing legal obligation

to do so.

       108.    Issuance of the requested injunction will not disserve the public interest. To the

contrary, such an injunction would benefit the public by preventing additional unlawful disclosures

of nonpublic personal information, including personally identifiable financial information, by

Barclays, thus eliminating the additional injuries that would result to Plaintiff and the hundreds of

thousands of consumers whose information has been and will continue to be disclosed.




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                                          COUNT V
                               BREACH OF CONFIDENCE
                       (On Behalf of Plaintiff and the Nationwide Class)

       109.    Plaintiff restates and realleges the above paragraphs as if fully set forth herein.

       110.    At all times during Plaintiff’s and Class Members’ interactions with Barclays,

Barclays was fully aware of the confidential and sensitive nature of Plaintiff’s and Class Members’

nonpublic personal information, including personally identifiable financial information.

       111.    As alleged herein and above, Barclays’s relationship with Plaintiff and Class

Members was governed by terms and expectations that Plaintiff’s and Class Members’ nonpublic

personal information, including personally identifiable financial information, would be collected,

stored, and protected in confidence, and would not be disclosed to any third parties without notice

and consent.

       112.    Plaintiff and Class Members provided their nonpublic personal information,

including personally identifiable financial information, with the explicit and implicit

understanding that Barclays would protect and not permit that information to be disseminated to

unaffiliated third parties without notice and consent.

       113.    Barclays voluntarily received in confidence Plaintiff’s and Class Members’

nonpublic personal information, including personally identifiable financial information, with the

understanding that and affirmative representation to customers that the information would not be

disclosed or disseminated to unaffiliated third parties for marketing purposes.

       114.    Barclays disclosed Plaintiff’s and Class Members’ nonpublic personal information,

including personally identifiable financial information, without notice and without their express

permission.




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       115.    But for Barclays’s disclosure of Plaintiff’s and Class Members’ nonpublic personal

information, including personally identifiable financial information, in violation of the parties’

understanding of confidence, their nonpublic personal information, including personally

identifiable financial information, would not have been disclosed third parties without their

consent.

       116.    The injury and harm Plaintiff and Class Members suffered was the reasonably

foreseeable result of Barclays’s nonconsensual disclosure of Plaintiff’s and Class Members’

nonpublic personal information, including personally identifiable financial information. Barclays

knew it was disclosing Plaintiff’s and Class Members’ nonpublic personal information, including

personally identifiable financial information, to third parties without their consent—indeed,

Barclays’s notice to its customers falsely stated that it would not make these disclosures.

       117.    As a direct and proximate result of Barclays’s breaches of confidence, Plaintiff and

Class Members have been injured and are entitled to damages in an amount to be proven at trial.

                                          COUNT VI
                                 BREACH OF CONTRACT
                       (On Behalf of Plaintiff and the Nationwide Class)

       118.    Plaintiff repeats and re-alleges the above paragraphs, as if fully alleged herein.

       119.    Barclays’s Privacy Notice (the “Notice”) is an agreement between Barclays and

persons who provided Barclays with their nonpublic personal information, including personally

identifiable financial information, including Plaintiff and Class Members.

       120.    Barclays’s Notice applies to customers, applicants, and former customers of

Barclays, and it details how Barclays will both protect and use the nonpublic personal information,

including personally identifiable financial information, provided by customers and applicants of

Barclays’s services. The Notice provides detailed information about what types of customer




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information will be shared and with what entities. The Notice promises that “The Barclays Bank

Companies do not share [customers’ personal information] with nonaffiliates so they can market

to you.”

       121.    Plaintiff and Class Members, on the one hand, and Barclays, on the other, formed

a contract when Plaintiff and Class Members provided nonpublic personal information, including

personally identifiable financial information, subject to the Notice.

       122.    Barclays breached its agreement with Plaintiff and Class Members by disclosing

their nonpublic personal information, including personally identifiable financial information, to

unaffiliated third parties for marketing purposes. Specifically, Barclays disclosed that information

to Meta, in violation of the Notice.

       123.    As a direct and proximate result of these breaches of contract, Plaintiff and Class

Members sustained actual losses and damages as described in detail above, including but not

limited to that they did not get the benefit of the bargain for which they paid and were overcharged

by Barclays for its services.

                                         COUNT VII
                           BREACH OF IMPLIED CONTRACT
                       (On Behalf of Plaintiff and the Nationwide Class)

       124.    Plaintiff repeats and re-alleges the above paragraphs as if fully alleged herein and

asserts this claim in the alternative to their breach of contract claim to the extent necessary.

       125.    Plaintiff and Class Members also entered into an implied contract with Barclays

when they obtained services from Barclays or otherwise provided nonpublic personal information,

including personally identifiable financial information, to Barclays.




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        126.      As part of these transactions, Barclays agreed to safeguard and protect the

nonpublic personal information, including personally identifiable financial information, of

Plaintiff and Class Members.

        127.      Plaintiff and Class Members entered into implied contracts with the reasonable

expectation that Barclays would keep their nonpublic personal information, including personally

identifiable financial information, confidential. Plaintiff and Class Members believed that Barclays

would use part of the monies paid to Barclays under the implied contracts to keep their nonpublic

personal information, including personally identifiable financial information, confidential.

        128.      Plaintiff and Class Members would not have provided and entrusted their nonpublic

personal information, including personally identifiable financial information, or would have paid

less for Barclays’s services in the absence of the implied contract or implied terms between them

and Barclays. The safeguarding of the nonpublic personal information, including personally

identifiable financial information, of Plaintiff and class members was critical to realize the intent

of the parties.

        129.      Barclays breached its implied contracts with Plaintiff and Class Members to protect

their nonpublic personal information, including personally identifiable financial information,

when it disclosed that information to Meta.

        130.      As a direct and proximate result of Barclays’s breach of implied contract, Plaintiff

and Class Members sustained actual losses and damages as described in detail above, including

that they did not get the benefit of the bargain for which they paid and were overcharged by

Barclays for its services.




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                                             COUNT VIII
                             NEW YORK GENERAL BUSINESS LAW
                                 N.Y. Gen. Bus. Law §§ 349, et seq.
                          (On Behalf of Plaintiff and the New York Subclass)

       131.    Plaintiff, individually and on behalf of the Class, repeats and alleges the above

paragraphs, as if fully alleged herein.

       132.    Barclays engaged in deceptive acts or practices in the conduct of its business, trade,

and commerce or furnishing of services, in violation of N.Y. Gen. Bus. Law § 349, including:

               a. Failing to comply with common law and statutory duties pertaining to the
               security and privacy of Plaintiff and the Class members’ nonpublic personal
               information, including personally identifiable financial information, including
               duties imposed by the GLBA and the FTC Act, 15 U.S.C. § 45, which was a direct
               and proximate cause of the damage to Plaintiff’s and class members;

               b. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff
               and the Class members’ nonpublic personal information, including personally
               identifiable financial information, including by keeping that information
               confidential and not disclosing it to unaffiliated third parties for marketing
               purposes;

               c. Misrepresenting that it would comply with common law and statutory duties
               pertaining to the security and privacy of Plaintiff and the Class members’ nonpublic
               personal information, including personally identifiable financial information,
               including duties imposed by the GLBA and FTC Act, 15 U.S.C. § 45;

               d. Omitting, suppressing, and concealing the material fact that it did not keep
               Plaintiff and the Class members’ nonpublic personal information, including
               personally identifiable financial information, confidential; and

               e. Omitting, suppressing, and concealing the material fact that it did not comply
               with common law and statutory duties pertaining to the security and privacy of
               Plaintiff and Class members’ nonpublic personal information, including personally
               identifiable financial information, including the duties imposed by the GLBA and
               the FTC Act, 15 U.S.C. § 45.

       133.    Plaintiff and members of the Class were deceived in New York. They also

transacted with Barclays in New York by accessing Barclays’s website and related financial

services (e.g., banking and applying for credit cards) from New York.




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       134.       Barclays’s representations and omissions were material because they were likely to

deceive reasonable consumers about the adequacy of Barclays to protect the confidentiality of

consumers’ Personal Information.

       135.       As a direct and proximate result of Barclays’s deceptive and unlawful acts and

practices, Plaintiff and Class members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

loss of the benefit of their bargain with Barclays as they would not have paid Barclays for goods

and services or would have paid less for such goods and services but for Barclays’s violations

alleged herein.

       136.       Barclays’s deceptive and unlawful acts and practices complained of herein affected

the public interest and consumers at large, including the tens of thousands of New Yorkers affected

by the disclosure of their nonpublic personal information, including personally identifiable

financial information.

       137.       The above deceptive and unlawful practices and acts by Barclays caused injury to

Plaintiff and the Class members that they could not reasonably avoid.

       138.       Plaintiff and the Class members seek all monetary and non-monetary relief allowed

by law, including actual damages or statutory damages of $50 (whichever is greater), treble

damages, restitution, injunctive relief, and attorney’s fees and costs.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the members of the Class,

respectfully requests the Court to enter an Order:

       A.      certifying the proposed Class under Federal Rule of Civil Procedure 23(a), (b)(2),

and (b)(3), as set forth above;

       B.      declaring that Defendant is financially responsible for notifying the Class Members

of the pendency of this suit;

       C.      declaring that Defendant has committed the violations of law alleged herein;

       D.      providing for any and all injunctive relief the Court deems appropriate;

       E.      awarding statutory damages in the maximum amount for which the law provides;

       F.      awarding monetary damages, including but not limited to any compensatory,

incidental, or consequential damages in an amount that the Court or jury will determine, in

accordance with applicable law;

       G.      providing for any and all equitable monetary relief the Court deems appropriate;

       H.      awarding Plaintiff her reasonable costs and expenses and attorney’s fees;

       I.      awarding pre- and post-judgment interest to the extent the law allows; and

       J.      providing such further relief as this Court may deem just and proper.




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                                   DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby demands a

trial by jury on all claims so triable.

Date: August 29, 2024                             Respectfully submitted,

                                                  REESE LLP

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                                                  and the Proposed Class




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